      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


RUSSELL TENORIO,

                 Plaintiff,

vs.                                                                       Civ. No. 12-01295 MCA/KBM
                                                                              Consolidated with
                                                                          Civ. No. 13-00574 MCA/KBM
BRIAN PITZER,
RAYMOND D. SCHULTZ, and
THE CITY OF ALBUQUERQUE,

                 Defendants.

                           MEMORANDUM OPINION AND ORDER

        This case is before the Court upon Defendant Brian Pitzer’s1 Opposed Motion for

Summary Judgment on Qualified Immunity Grounds [Doc. 64]. The Court has

considered the written submissions of the parties, the record in this case and the

applicable law, and is otherwise fully advised.

Summary Judgment Standards

        Rule 56(a) of the Federal Rules of Civil Procedure provides that A[a] party may

move for summary judgment, identifying each claim . . . on which summary judgment is

sought.@ As our Court of Appeals has succinctly stated:

        Summary judgment is appropriate only if Athere is no genuine issue as to any
        material fact and . . .the moving party is entitled to a judgment as a matter of


1
 The Court has not considered this motion with respect to Officer Liccione, who was not a party to the suit against
Defendant, Civ. No.12-1295, when Defendant filed his motion. The Court’s denial of Defendant’s motion is
without prejudice to Officer Liccione.


                                                         1
    Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 2 of 15




         law.@ A fact is Amaterial@ if, under the governing law, it could have an effect
         on the outcome of the lawsuit. A dispute over a material fact is Agenuine@ if
         a rational jury could find in favor of the nonmoving party on the evidence
         presented.

Adamson v. Multi Community Diversified Serv., Inc., 514 F.3d 1136, 1145 (10th Cir.

2008).

Legal Standards Applicable to a Dispositive Motion Based on Qualified Immunity

         Resolution of a dispositive motion based on qualified immunity involves a
         two pronged inquiry. "First, a court must decide whether the facts a plaintiff
         has alleged or shown make out a violation of a constitutional right.”
         "Second, . . . the court must decide whether the right at issue was 'clearly
         established' at the time of the defendant's alleged misconduct." "With regard
         to this second [prong], the relevant, dispositive inquiry in determining
         whether a right is clearly established is whether it would be clear to a
         reasonable officer that his conduct was unlawful under the circumstances
         presented." A reviewing court may "exercise [its] sound discretion in
         deciding which of the two prongs of the qualified immunity analysis should
         be addressed first in light of the circumstances in the particular case at
         hand." "Qualified immunity is applicable unless" the plaintiff can satisfy
         both prongs of the inquiry.

Herrera v. City of Albuquerque, 589 F.3d 1064, 1070 (10th Cir. 2009) (citations omitted).

Background

         The Court has drawn the following facts from the record. The Court has taken as

true those facts which the parties agree are undisputed. Wherever the facts are disputed

and the evidence is in conflict, the Court has construed the evidence in the light most

favorable to Plaintiff as the nonmovant. Kaufman v. Higgs, 697 F.3d 1297, 1300 (10th

Cir. 2012) (quoting Koch v. City of Del City, 660 F.3d 1228, 1238 (10th Cir. 2011);

Thomson v. Salt Lake County, 584 F.3d 1304, 1318 (10th Cir. 2009) (“In determining




                                               2
      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 3 of 15




whether a plaintiff’s constitutional rights were violated we ordinarily, as here, adopt

plaintiff’s version of the facts, insofar as it is supported by the record.”).

        On November 11, 2010, at 7:56 p.m., a 911 operator received a call from a woman

who tells the operator “I need someone to come over here right away.” A transcript of

the conversation between the woman and the 911 operator is attached as Exhibit B to

Defendant’s Motion [Doc. 64-1]. The woman, subsequently identified as Hilda Valdez,

reports that her sister-in-law’s husband, “Russell,” is intoxicated and is holding a knife to

his throat. Ms. Valdez explains that she is afraid that Russell will hurt himself or his wife.

        The 911 operator relays information provided by Ms. Valdez to the APD dispatcher

[Doc. 92-4 at 2]. The officers do not hear the conversation between Ms. Valdez and the

911 operator; the only information they receive is that relayed to them by the dispatcher

[Doc. 92-4 at 2]. APD Officers Moore, Hernandez, Liccione are dispatched in response to

the call; Defendant also responds [Doc. 92-3 at 2]. Each officer is driving a separate

vehicle [Doc. 92-3 at 2]. The dispatcher relays to the responding officers the information

set out in Exhibit C to Defendant’s Motion [Doc. 64-2]. The officers are informed that

there are no injuries reported; that the male subject is drunk, has a knife to his throat and

has vandalized windows; that the subject has been violent in the past;2 that the subject

takes meds for seizures”; that the caller, the subject, the subject’s wife and the subject’s

brother are also present inside the location; and, that the subject is in the kitchen waiving



2
  This was in fact a misstatement by the 911 operator [Doc. 64-1 at 4]. But for purposes of assessing the
reasonableness of Defendant’s conduct, this misstatement cannot be held against Defendant, who did not overhear
the actual conversation between the 911 operator and Ms. Valdez.

                                                        3
      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 4 of 15




the knife around. At 8:03:44 p.m. the dispatcher informs the officers that the caller and

her sister are in the living room. At 8:03:52 p.m. the dispatcher informs the officers that

the “offender” and his brother are in the kitchen.

        Defendant, Officer Moore, and Officer Hernandez arrive on scene between

approximately 8:03 and 8:04 p.m. [Doc. 64-2 at 2]; Officer Liccione arrives at 8:04:38

p.m. [Doc. 64-2 at 2; Doc. 64-10 at 1] The officers do not have their emergency

equipment engaged [Doc.92-3 at 3]. The officers park their vehicles a short distance

down the street from Plaintiff’s residence [Docs. 92-3 at 4; 92-9 at 2]. A minute or so

later the officers approach Ms. Valdez, who is standing outside Plaintiff’s residence still

speaking to the 911 operator [Doc. 64-7 at 1]. Ms. Valdez clearly appears frightened [Doc.

92-4 at 3]. Officer Moore peremptorily orders Ms. Valdez to disconnect her 911 call [Doc.

64-7 at 1]. Defendant’s belt recorder records3 Ms. Valdez saying “He’s got a knife. He’s

been drinking . . . He’s like thirty-seven, thirty-eight years old. Um, we tried to talk to

him but he got mad ’cause we took his beer away from him” [Doc. 64-7 at 1]. The

officers do not ask Ms. Valdez if there is a hostage situation [Doc. 64-10 at 4]. Defendant,

who has not received crisis intervention training [Doc.64-9 at 7], immediately announces

“going lethal” [Doc. 64-7 at 1].

        Without settling on a tactical plan [Docs. 64-10 at 1; 92-3 at 5-6], the officers

assume an impromptu formation outside the front door to Plaintiff’s residence [Doc. 92-5

at 4]. The officers are in uniform [Doc. 92-2 at 4]. Defendant is in front, with his


3
  Inexplicably, neither party provided the Court with a copy of the the audio recording made by Defendant’s belt
recorder.

                                                         4
     Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 5 of 15




handgun drawn. Officer Moore is behind Defendant, carrying a Taser. Officer Liccione

is third, with his handgun drawn. [Doc. 92-9at 2]Officer Hernandez is behind the other

officers, carrying a shotgun loaded with beanbag rounds, but is temporarily occupied in

preventing Ms. Valdez from reentering the residence [Doc. 92-7 at 2]. The front door is

open [Doc. 92-5 at 4]. A lamp is on in the living room [Doc. 92-1 at 3]. The living room

is about 14’ by 16,’ with the front door on one of the shorter walls [Doc. 92-8 at 1]. From

his position outside the front door, Defendant sees two doorways on the opposite wall, one

to his left, and another to his right, directly across from the front door. It is apparent that

part of the kitchen area is to the left of the right doorway, behind the living room wall, and

cannot be viewed from Defendant’s position [Doc. 92-8 at 2]. The officers do not hear

raised voices or other sounds suggesting a disturbance. Without announcing his presence

[Doc. 92-10 at 3], Defendant enters the living room through the front door, followed by

Officers Moore and Liccione. A woman moves into the area of the kitchen visible

through the right doorway [Doc. 92-1 at 2]. Defendant calls out “Ma’am,” followed by

“Please step out here. Let me see your hands, okay?” [Doc. 64-7 at 2] At least one of

Defendant’s fellow officers understands the command “Please step out here” to be

addressed to everyone in the kitchen [Doc. 92-9 at 2; Doc. 92-10 at 2]. As the woman

responds to Defendant’s order, she says to someone in the kitchen, “Russell, put that

down” [Doc. 64-7 at 2]. The woman walks through the doorway into the living room with

her hands up and her palms facing the officers [Doc. 92-5 at 3], followed by a man with a

blank stare [Doc. 92-9 at 2] who is carrying a santoku-style kitchen knife with a three-and-



                                               5
     Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 6 of 15




a-quarter-inch sheepsfoot blade [Doc. 64-4]. The man is holding the knife loosely in his

right hand, his arm hanging by his side, as he walks forward behind the woman [Doc. 92-1

at 2, 3]. Behind the first man is a second man, who also is moving out of the kitchen into

the living room [Doc. 92-1 at 3]. Officer Hernandez, who has entered the living room after

the other officers, grabs the woman and hustles her out the front door [Doc. 92-10 at 2] as

the man with the knife walks forward into the living room at an “average” speed [Docs.

92-2 at 4; 92-10 at 3]. Defendant sees the knife and yells “Sir, put the knife down! Put

the knife down, please! Put the knife down! Put the knife down!” [Doc. 64-7 at 2] When

the man with the knife is about two and one-half steps into the living room, Defendant

shoots the man, and simultaneously Officer Moore tases the man, who falls to the floor

[Docs. 64-3 at 6; 92-1 at 4]. The commands and the shooting are compressed into no more

than two or three seconds [Docs. 64-9 at 7; 64-10 at 2; 92-3 at 8]. The period of time

between the first officer’s arrival at the scene and the shooting is less than four minutes

[Doc. 64-2 at 2].

Discussion

       Claims that police officers employed excessive force in effecting a seizure of a

free citizen are analyzed under the standards set out in Thomson, 584 F.3d at 1313-1315,

1320. The Court has carefully reviewed and considered those standards in the course of

deciding Defendant’s motion. Applying those standards, the Court concludes that

Plaintiff has come forward with evidence that would enable a reasonable jury to find a

Fourth Amendment violation under two theories.



                                              6
      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 7 of 15




         The first theory is that when Defendant shot Plaintiff, Defendant did not have

probable cause to believe that Plaintiff presented a threat of serious physical harm to

Defendant or another person. Id. at 1313. This theory implicates the (non-exclusive)

Larsen factors.4 Id. at1314-15 (quoting Estate of Larsen ex rel. Sturdivan v. Murr, 511

F.3d 1255, 1260 (10th Cir. 2008)). As to the first Larsen factor, there is no dispute that

Defendant ordered Plaintiff to drop the knife prior to shooting Plaintiff. However, this

fact is offset by evidence that Defendant shot Plaintiff within two or three seconds of the

first command to drop the knife [Doc. 92-1 at 4]. A reasonable jury could find that

Defendant did not “refuse” to drop the knife because he was not given sufficient time to

comply. A jury could conclude that the first Larsen factor is neutral as to the existence of

probable cause. As to the second Larsen factor, the evidence viewed in the light most

favorable to Plaintiff supports a finding that Plaintiff was holding a small kitchen knife

loosely by his thigh and that he made no threatening gestures toward anyone [Doc. 92-3

at 10]. A reasonable jury could find that the second Larsen factor weighs against the

existence of probable cause. As to the third Larsen factor, the distance between Plaintiff

and Defendant is established by the dimensions of the living room noted above, reduced

by the distance that Defendant had moved into the living room and the two and a half



4
 The Larsen factors are: “‘(1) whether the officers ordered the suspect to drop his weapon, and the suspect’s
compliance with police commands;(2) whether any hostile motions were made with the weapon towards the
officers; (3) the distance separating the officers and the suspect; and (4) the manifest intentions of the suspect.’” Zia
Trust Co. v. Montoya, 597 F.3d 1150, 1154 (10th Cir. 2010) (quoting Estate of Larsen, 511 F.3d at 1260). The
Court understands the first, third and fourth Larsen factors as primarily bearing on a knife-wielding subject’s
apparent intention to harm the officer or another person, while the second Larsen factor addresses the subject’s
apparent ability to harm the officer or another person. Clearly, resort to deadly force is not objectively reasonable
unless there are circumstances indicating to the officer that the subject has both the ability and the intention to harm.

                                                           7
      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 8 of 15




steps that Plaintiff took into the living room [Doc. 92-2 at 3]. A jury could find that

Plaintiff was shot as he was walking in Defendant’s general direction,5 but before he was

within striking distance of Defendant [Doc. 64-6 at 3 (“[H]e was getting close enough to

us to where it would have been a threat if he had made that decision [to raise the knife].”)

(emphasis added)].6 A reasonable jury could find that this third factor also weighs

against the existence of probable cause. As to the fourth Larsen factor, a reasonable jury

could find that the information available to Defendant indicated that the only person that

Plaintiff was known to have threatened that night was himself, and that as Plaintiff

walked into the living room he did not raise the knife from his side or make threatening

gestures or comments toward anyone. A jury could find that the fourth Larsen factor

weighs against the existence of probable cause. See Murphy v. Bitsoih, 320 F. Supp. 2d

1174, 1191-92, 1193 (D. N.M. 2004) (reviewing cases involving use of deadly force;

observing that “the courts uniformly required more than the mere presence of a knife near

an officer to justify the use of lethal force”). The Court concludes that the evidence gives

rise to a genuine issue of material fact as to whether Defendant had probable cause to

believe that Plaintiff presented a threat of serious physical injury to Defendant, his fellow

officers, or the civilian occupants of Plaintiff’s residence. See Cavanaugh v. Woods



5
  As noted above, the record contains evidence that Defendant was standing directly across the living room from the
doorway to the kitchen. In view of Defendant’s position relative to the doorway to the kitchen, Plaintiff
necessarily would have moved in Defendant’s general direction in complying with the command to “please step out
here,” which as noted elsewhere, was understood by Officer Liccione to have been directed at everyone in the
kitchen.
6
  A reasonable jury could find that at the point that Defendant shot Plaintiff, Michaele Tenorio had been hustled out
of the living room by Officer Hernandez, and was no longer in harm’s way. Under this view of the facts, Defendant
could not reasonably have viewed Plaintiff as a threat to Michaele Tenorio.

                                                         8
      Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 9 of 15




Cross City, 718 F.3d 1244, 1253-54 (10th Cir. 2013) (“And ‘where there is a question of

fact or “room for a difference of opinion” about the existence of probable cause, it is a

proper question for a jury. . . .’”; “principles from probable cause cases are equally

applicable to our excessive force cases”).

         Plaintiff’s alternative theory of liability is that Defendant and the other officers

recklessly and unreasonably created a situation giving rise to Defendant’s resort to deadly

force. The dispatcher had informed the officers shortly before they arrived that the two

women inside Plaintiff’s residence were in the living room, not the kitchen, and when the

officers arrived, Ms. Valdez was waiting outside in the driveway. Thus, the record

contains evidence that Defendant and the other officers knew or should have known that

they were not confronting a situation in which Plaintiff was holding persons inside

against their will. The officers knew that Ms. Valdez had been inside just a few minutes

before [Doc. 64-2 at 2]. Yet, Defendant and the other officers did not ask Ms. Valdez

about the situation inside the house.7 See Sevier v. City of Lawrence Kansas, 60 F.3d

695, 701 n.10 (10th Cir. 1995) (citing officers’ failure to obtain more information about

armed suicidal subject’s condition as evidence of reckless conduct precipitating use of

deadly force). There is no evidence that after they arrived, Defendant or the other

officers heard loud voices or other sounds of a disturbance coming from inside the

residence. Defendant and the other officers knew from the information transmitted by the



7
  Ms. Valdez could have provided crucial information such as the facts that Plaintiff had not threatened or harmed
anyone and that Plaintiff was not holding anyone hostage. Ms. Valdez could have corrected the erroneous
information provided by the dispatcher that Plaintiff had been violent in the past.

                                                         9
    Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 10 of 15




dispatcher that no one had been injured, and that the only person the subject had

threatened was himself. Yet, within a minute or two after arriving, Defendant and

Officer Liccione had drawn their side arms, “going lethal.” Although Officer Moore and

Officer Liccione had received crisis intervention training, neither officer attempted to

employ that training [Doc. 64-6 at 2; Doc. 64-10 at 4]. Defendant and the other officers

did not attempt to resolve the situation verbally (as for example by calling into the

residence directing the occupants to come outside), even though that was an option [Doc.

64-10 at 4]. Cf. Myers v. Oklahoma County Bd. of County Comm’rs, 151 F.3d 1313,

1320 (10th Cir. 1998) (emphasizing evidence that officers had spent hours trying to

resolve situation through non-confrontational communication with subject). Since

Defendant could see into the living room through the open front door [Doc. 64-9 at 3], he

would have been aware that due to the small size of the room and the placement of

furnishings it would be difficult or impossible for Defendant and the other officers to

maneuver once they were inside. According to Officer Liccione, officers are trained to

treat a person armed with a knife as a lethal threat when the person is within 21 feet of

the officer. See Murphy, 320 F. Supp. 2d at 1182; but see Edged Weapon Defense: Is or

was the 21-foot rule valid (Part 1)(observing that contrary to common misunderstanding

of the “21-foot rule,” “[a] suspect with a knife within 21 feet of an officer is

POTENTIALLY a deadly threat”), available online at http://www.policeone.com/edged-

weapons/articles/102828-Edged-Weapon-Defense-Is-or-was-the-21-foot-rule-valid-Part-

1/ (last visited April 10, 2014). Given the dimensions of Plaintiff’s living room, an entry



                                              10
    Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 11 of 15




into the living room greatly increased the chances that Plaintiff, if he were still holding a

knife, would automatically be perceived as a lethal threat justifying the use of deadly

force. Moreover, since a short distance between an officer and a subject translates into a

short time to react, the decision to enter the confines of the living room necessarily

limited Defendant’s opportunity to communicate with Plaintiff prior to employing deadly

force. Due to the limited space within the living room, the bean bag rounds were not a

non-lethal option [Doc. 92-3 at 10]. Lastly, Defendant and his colleagues did not even

attempt to formulate a tactical plan prior to entering the residence. On this evidence a

reasonable jury could find that Defendant and the other officers acted recklessly by

barging into the residence with deadly force deployed.

       Having determined that there are genuine issues of material fact that if resolved in

Plaintiff’s favor would support a finding that Plaintiff was subjected to excessive force in

violation of his Fourth Amendment rights, the Court must decide if the law on which

Defendant’s liability turns was clearly established on November 11, 2010. Whether the

law is clearly established in an excessive force case is evaluated under the standards set

out in Fancher v. Barrientos, 723 F.3d 1191, 1201 (10th Cir. 2013) (quoting Casey v.

City of Federal Heights, 509 F.3d 1278, 1284 (10th Cir. 2007)).

       Zia Trust Co. v. Montoya, 597 F.3d 1150 (10th Cir. 2010); Walker v. City of

Orem, 451 F.3d 1139 (10th Cir. 2006); Zuchel v. City and County of Denver, Colo., 997

F.2d 730; Sevier v. City of Lawrence, Kan., 60 F.3d 695, 700-701 (10th Cir. 1995);

Murphy v. Bitsoih, 320 F. Supp. 2d 1174 (D. N.M. 2004); Diaz v. Salazar, 924 F.



                                             11
     Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 12 of 15




Supp.1088 (D.N.M. 1996) provided Defendant with sufficient notice of established

Fourth Amendment limitations on his use of deadly force. In particular, the Larsen

factors were well established in Tenth Circuit case law as of November 11, 2010. In

view of these decisions, no reasonable officer could have believed that it was lawful to

shoot Plaintiff, even though he was holding a small knife, when: (1) the officer was

present in response to a 911 call concerning a subject threatening to harm himself, rather

than a crime in progress (2) the officer knew or should have known that Plaintiff had not

harmed anyone (3) the officer knew or should have known that Plaintiff was not holding

anyone against his will (4) after arriving, the officer had not heard raised voices or other

sounds of a disturbance (5) Plaintiff was calmly walking forward out of the kitchen

(6) Plaintiff was not told to halt (7) Plaintiff was not given a reasonable time to comply

with the order to drop the knife (8) Plaintiff did not appear belligerent or agitated

(9) Plaintiff was holding the knife loosely by his side and did not raise the knife or make

any threatening gestures or remarks and (10) Plaintiff was not yet within striking range of

the officer. Likewise, the principle that reckless conduct that unreasonably precipitates a

use of deadly force violates the Fourth Amendment was well established. Thomson, 584

F.3d at 1320; Allen v. Muskogee Okla., 119 F.3d 837, 840-41 (10th Cir. 1997); Sevier, 60

F.3d at 701; see also Hastings v. Barnes, 252 Fed. Appx. 197, 203 (10th Cir. 2007)

(unpublished opinion) 8; Murphy, 320 F. Supp. F.2d at 1193 (concluding that “[c]learly



8
 As an unpublished opinion, Hastings is not by itself dispositive of the question of whether the law was clearly
established; but its holding that the officers unreasonably precipitated the necessity of deadly force nevertheless
may contribute to a conclusion as to whether the law was clearly established as of November 11, 2010. Estate of

                                                         12
     Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 13 of 15




established law in the Circuit . . . holds that an officer is responsible for his or her

reckless conduct that precipitates the need to use force.”). Given that there was no report

of injuries, no sounds of a disturbance, no reason to believe that the occupants were being

held against their will, and no information suggesting that Plaintiff had threatened

another person, no reasonable officer could have believed that it was appropriate to barge

into Plaintiff’s house with deadly force deployed without formulating a tactical plan

taking into account known or readily available information, and without consulting Ms.

Valdez, who had recently been inside. The present case is merely an example of the

application of settled law to a new, but in no way unusual, set of facts. See Estate of

Booker, 745 F.3d 405, 427 (10th Cir. 2014). (“In the Fourth Amendment context, we

have said that ‘because excessive force jurisprudence requires an all-things-considered

inquiry with careful attention to the facts and circumstances of each particular case, there

will almost never be a previously published opinion involving exactly the same

circumstances. We cannot find qualified immunity whenever we find a new fact

pattern.’”). The law as it existed on November 11, 2010 gave Defendant fair notice of

Fourth Amendment limitations on his use of deadly force.

        The Court must address one last matter: Defendant’s objection to Plaintiff’s

Exhibits Nos. 6 and 8 [Docs. 92-6 and 92-8]. Defendant argues that that these two

exhibits, excerpts from Plaintiff’s expert reports, “have not been presented in admissible




Booker, 745 F.3d 405 (10th. Cir. 2014). Apart from its holding as to the merits of the plaintiff’s Fourth Amendment
claim, Hastings is informative in that the panel that decided Hastings believed that the law it applied was clearly
established as of August 23, 2002, the date of the incident at issue in Hastings.

                                                        13
    Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 14 of 15




form since this information is unsworn and has not otherwise been shown to be

admissible” [Doc. 103 at 1]. Under the forward-looking language of Fed. Civ. P. Rule

56(c)(2) the current form of the evidence is not dispositive of whether it may be

considered in response to Defendant’s motion. Since Plaintiff has identified experts,

those experts presumably can be called at trial to testify to the opinions in their reports

and the bases for those opinions. Central Weber Water Improvement Dist. v. Ace Fire

Underwriters Ins. Co., No. 1:12-CV-166 TS, 2014 WL 495152 *7 (D. Utah. Feb. 6,

2014). Sufficient authentication is provided by Defendant’s concession that these

exhibits are portions of Plaintiff’s expert reports. Furthermore, pursuant to Fed. Evid.

Rule 703, an expert may base his opinions on evidence that otherwise would be

inadmissible. With one exception noted below, Defendant has not adequately explained

why the evidence in Plaintiff’s experts’ reports “cannot be presented in a form that would

be admissible in evidence.” Defendant’s objection is not well taken. Defendant, citing

Medina v. Cram, 252 F.3d 1124, 1133 (10th Cir. 2001), objects to the opinion of

Plaintiff’s police procedures expert, Roger A. Clark, that “[n]one of the officers at the

scene (including Officer Pitzer) followed the expected and required tactical protocols

necessary for dealing with a mentally impaired, suicidal and possibly armed (with a

knife) subject” [Doc. 92-6 at 2]. This is a facially proper objection, as it goes to the

content or substance of Plaintiff’s evidence, not merely its current form. Johnson v.

Weld County, Colo., 594 F.3d 1202, 1210 (10th Cir. 2010). At this point in time, the

Court need not decide whether Medina requires the exclusion of Mr. Clark’s opinions, cf.



                                              14
    Case 1:12-cv-01295-JCH-KBM Document 121 Filed 05/28/14 Page 15 of 15




Cavanaugh, 718 F.3d at 1250 (endorsing use of police practices expert to “connect the

dots” on whether the circumstances facing defendant officer justified his use of force),

because the Court is satisfied that with Mr. Clark’s opinions set aside and given no

weight the remaining evidence before the Court raises genuine issues of material fact

precluding summary judgment on the defense of qualified immunity.

       WHEREFORE, IT IS THEREFORE HEREBY IS ORDERED that Defendant

Brian Pitzer’s Opposed Motion for Summary Judgment on Qualified Immunity Grounds

[Doc. 64] is denied.

       So ordered this 28th day of May, 2014.



                                          ___________________________________
                                          M. CHRISTINA ARMIJO
                                          Chief United States District Judge




                                            15
